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                       Exhibit B
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                        IN UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                    )
 In re:                                             )   Chapter 7
                                                    )
 ART VAN FURNITURE, LLC, et al.,                    )   Case No. 20-10553 (CSS)
                                                    )
                         Debtors.                   )   (Jointly Administered)
                                                    )
                                                    )   Re: Docket No. _____

   ORDER MODIFYING THE AUTOMATIC STAY TO PERMIT LIQUIDATION OR
        ABANDONMENT BY KUEHNE + NAGEL INC. OF COLLATERAL

               Upon the motion (the “Motion”) filed by Kuehne + Nagel Inc. (“K+N”) for

modification of the automatic stay, for cause, to permit the liquidation or abandonment of

collateral (the “Motion”); and this Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware dated February 29,

2012; and consideration of the Motion and the requested relief being a core proceeding pursuant

to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408

and 1409; and due and proper notice of the Motion having been provided to the parties listed

therein, and it appearing that no other or further notice need be provided; and this Court having

reviewed the Motion; and this Court having held a hearing on the Motion; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the

relief granted herein; and it appearing that the relief requested in the Motion is in the best

interests of the estates, creditors, and all parties in interests; and upon all of the proceedings had

before this Court and after due deliberation and sufficient cause appearing therefor,


IT IS HEREBY ORDERED THAT:

               1.      The Motion is granted as set forth herein
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                    2.       The automatic stay is hereby modified to allow K+N to liquidate, or, when

commercially reasonable, to abandon, the Goods1.

                    3.       The liquidation or abandonment of the Goods shall not be construed as a

waiver by K+N with respect to any and all claims they have against the estates, all of which are

expressly preserved in full.

                    4.       The Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or implementation of this Order.




1
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.



                                                           2
